Case 1:15-cv-02507-JLK Document 65-1 Filed 05/08/17 USDC Colorado Page 1 of 8




                                                                     Exhibit A
Case 1:15-cv-02507-JLK Document 65-1 Filed 05/08/17 USDC Colorado Page 2 of 8
Case 1:15-cv-02507-JLK Document 65-1 Filed 05/08/17 USDC Colorado Page 3 of 8




                          Misc Materials [px02]
                                                                    B 0006
Case 1:15-cv-02507-JLK Document 65-1 Filed 05/08/17 USDC Colorado Page 4 of 8
Case 1:15-cv-02507-JLK Document 65-1 Filed 05/08/17 USDC Colorado Page 5 of 8
Case 1:15-cv-02507-JLK Document 65-1 Filed 05/08/17 USDC Colorado Page 6 of 8
Case 1:15-cv-02507-JLK Document 65-1 Filed 05/08/17 USDC Colorado Page 7 of 8
Case 1:15-cv-02507-JLK Document 65-1 Filed 05/08/17 USDC Colorado Page 8 of 8




     INMATE VIEW FOR: KYLE JEFFREY SCHWARK
     Print Date: 11/12/2013 21 :52:35 Page: 1


     PERSON


     PERSON:
     Name: SCHWARK, KYLE JEFFREY
     DOB: 12/1/1969 Age: 43
     SSN: XXX-XX-XXXX
     DL Num: 94-244-0974 DL State: CO
     Home Phone: (719) 836-2902
     Place Of Birth: NEW YORK
     SID: 845516

    HOME ADDRESS:
    2427 CO RD 6
    P.O. BOX 7399 PMB 287 BRECKENRIDGE CO 80424

    ALMA, CO 80420

    AKA:
    1. SCHWARK, KYLE J
    2. SCHWARK, KYLE


    CHARACTERISTICS:
    Height: 5' 5" Weight: 1401b
    Race: WHITE Sex: MALE
    Hair: BLONDE/STRAWBERRY Eyes: BLUE
    Hair Style: SHORT Hair Type: STRAIGHT
    Handed: RIGHT Facial Hair: UNSHAVEN
    Build: MEDIUM Complexion: LIGHT

    INMATE


    Inmate Number: 10018585 Inmate Site Number: 3873 Status: UNSENTENCED
    CUSTODY: SCHWARK, KYLE JEFFREY Is CURRENTLY IN CUSTODY
    Classify: INITIAL

    *******************************************************************************
    ACTIVE BOOKINGS: 1

    1. Active Booking Number: B0028133       Arrest Type: WARRANT/TAKEN INTO CUSTODY
    ***EXAMINE BOOKING***                .
      Case Number: 13CR25
      Booking Status: UNSENTENCED
      Booking Date: 11/12/2013 21 :35:27 Arrest Date: 11/12/2013 21 :35:00 Arrest Location: SO LOBBY
      Arresting Officer: SHIMP, R 3702 Booking Officer: SHIMP, R 3702
      Arresting Agency: PARK COUNTY SHERIFF'S OFFICE Booking Agency: PARK COUNTY SHERIFF'S
      OFFICE

     Court: PARK COUNTY COMBINED COURT
     Conditions Of Release: MUST SERVE 60 DAYS

     No Active Sentence For Booking

     Current Days In Custody: 0

   ***BAIL TOTALS FOR ACTIVE BOOKINGS***

     ***WARRANTS***




                                          Park County Jail [px01]                                A 0121
